                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

     In re:                                                  Chapter 7

     AKORN HOLDING COMPANY LLC,                              Case No. 23-10253 (KBO)
     et al 1
                     Debtors.                                (Jointly Administered)

                                                             Related Doc. No. 77

            ORDER GRANTING TRUSTEE’S MOTION FOR ENTRY OF
       AN ORDER EXTENDING TIME TO ASSUME OR REJECT EXECUTORY
    CONTRACTS AND UNEXPIRED LEASES OF PERSONAL PROPERTY PURSUANT
                         TO 11 U.S.C. § 365(D)(1)

           Upon consideration of the Trustee’s Motion for Entry of Order Extending Time to Assume

or Reject Executory Contracts and Unexpired Leases of Personal Property Pursuant to 11 U.S.C.

§365(d)(1) (the “Motion”);2 the Court finding that notice of the Motion was sufficient; after due

deliberation; good and sufficient cause having been shown; and pursuant to Del. Bankr. L.R. 9006-

2 the filing of the Motion having automatically extended the Trustee’s deadline to assume or reject

the Contracts through and including the date on which the Court acts on the Motion, it is hereby

ordered that:

           1.       The Motion is GRANTED as set forth herein.

           2.       Pursuant to 11 U.S.C. § 365(d)(1), the time period within which the Trustee may

assume or reject Contracts consisting of all executory contracts and unexpired leases of personal

property is hereby extended by sixty (60) days, through and including the Extended Deadline of




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 The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers, and
cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate Company
LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No. 23-10255. The
Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.
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    Capitalized terms not otherwise defined in this Order shall have the meanings given in the Motion.


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June 24, 2023 with the exception of the Government Contracts3, the Ethypharm Contracts (as

defined below), and the Qualanex Contracts (as defined below) which are addressed respectively

in paragraphs 3, 4 and 5.

        3.         The deadline for assumption or rejection of the Government Contracts shall remain

April 24, 2023 and such Government Contracts shall be deemed rejected by operation of law in

accordance with 11 U.S.C. § 365(d)(1). After rejection of the Government Contracts, the

automatic stay in 11 U.S.C. § 362 is modified to permit the United States to terminate the

Government Contracts and to take any other additional action to mitigate any damages arising

from the Government Contracts’ rejection.

        4.         The deadline for assumption or rejection of: (i) the Amended and Restated Supply

and Distribution Agreement, dated March 4, 2019, between one or more of the Debtors and

Ethypharm S.A.S. (“Ethypharm”); (ii) the License, Distribution and Supply Agreement, dated

December 12, 2012, between one or more of the Debtors and Ethypharm; and (iii) the License and

Distribution Agreement, dated August 1, 2015, between one or more of the Debtors and Ethypharm

(together, as amended, modified, or supplemented from time to time, the “Ethypharm Contracts”)

shall remain April 24, 2023 and the Ethypharm Contracts shall be deemed rejected by operation

of law in accordance with 11 U.S.C. §365(d)(1). Provided however, notwithstanding such

rejection, the Trustee may sell all, or any portion of, the Products (each as defined in the Ethypharm

Contracts) presently in the Trustee’s possession that are the subjects of the Ethypharm Contracts,




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 In addition to the contracts and agencies identified in the Motion, the term Government Contracts includes pricing
and/or refund agreements with the Defense Health Agency.


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with the proceeds of such sale(s) to be apportioned between the Estates and Ethypharm pursuant

to the Ethypharm Contracts.

        5.         The deadline for assumption or rejection of the executory contracts under 11 U.S.C.

§ 365(d)(1) between on or more of the Debtors and Qualanex LLC identified in the Limited

Objection of Qualanex, LLC to the Motion [Doc. No. 100; Filed 4/19/2023] (the “Qualanex

Contracts”) is extended until May 24, 2023 at which time the Qualanex Contracts shall be deemed

rejected unless further extended by agreement of the parties.

        6.         This Order is without prejudice to the Trustee’s ability to request and obtain

additional extensions, including but not limited to an extension under 11 U.S.C. § 365(d)(4) with

respect to unexpired leases of real property.




    Dated: April 24th, 2023                             KAREN B. OWENS
    Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE


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